                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In re: Anthony Lee Pierce                  )
       SSN: xxx-xx-3714                    )                Case No.: 11-83381-CRJ-13
       Peggy Harbin Pierce                 )
       SSN: xxx-xx-6237                    )                CHAPTER 13
                                           )
             Debtor.                       )
       ____________________________________)

                            FORMER SPECIAL COUNSEL’S
                              REPORT TO COURT AND
                          MOTION FOR STATUS CONFERENCE

       COMES NOW James H. Richardson, previously approved by this Court to serve as
Special Counsel for the above Chapter 13 Estate (“Special Counsel”), and shows this Court as
follows:

                                        JURISDICTION

       1.      This Court has subject matter jurisdiction to consider and determine this motion
pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Per 28
U.S.C. §§ 1408 and 1409, venue is proper before this Court.

       2.      Special Counsel brings this motion in order to address any duty of reporting
and/or disclosure that he may have to the Court in this closed Chapter 13 case.

                                     RELEVANT FACTS

A.     Events While the Bankruptcy Case Was Open.

       3.      On September 28, 2011, Anthony and Peggy Pierce (the “Debtors”) filed a
petition for Chapter 13 relief through their counsel, Kevin D. Heard.

       4.      On October 15, 2012, this Court confirmed the Debtors’ Chapter 13 plan.

       5.      After confirmation and during the term of the plan, Mr. Pierce suffered a serious
injury in an automobile collision (the “Accident”).




Case 11-83381-CRJ13          Doc 157 Filed 08/28/19 Entered 08/28/19 15:50:04             Desc
                               Main Document     Page 1 of 3
          6.    On November 25, 2015, this Court approved the employment of Special Counsel
for the Chapter 13 Estate to pursue a claim against Alfa Mutual Insurance Company in
connection with the Accident.

          7.    In the summer of 2017, Special Counsel filed a lawsuit in the Circuit Court for
Madison County, Alabama (the “Lawsuit”).

          8.    On October 5, 2017, the Chapter 13 Trustee’s office filed a Certificate of
Completed Chapter 13 Plan in this bankruptcy case certifying that the Debtors had completed
their plan. On October 16, 2017, the Debtors received their discharge order from this Court.

          9.    Three months later, on December 7, 2017, the Chapter 13 Trustee’s office filed a
Final Report and Account certifying that the Debtor’s bankruptcy estate had been fully
administered and that the Trustee had completed all administrative matters connected to the case.
On January 8, 2018, this Court entered an Order discharging this Trustee and closing this case.

          10.   The Lawsuit was still pending in state court at the time this Court closed this
bankruptcy case.

B.        Events after the Bankruptcy Case Was Closed

          11.   The Chapter 13 Trustee’s office has informed Special Counsel that the Trustee
claims an interest in administering proceeds from the Lawsuit.

          12.   It is Special Counsel’s understanding that upon the closing of a bankruptcy case,
all property of the bankruptcy estate is abandoned to the Debtors by operation of 11 U.S.C. §
554(c).

          13.   Accordingly, Special Counsel now brings this motion seeking an opportunity to
report to the Court on events that transpired after this Court closed the Chapter 13 case so that
this Court may take any actions it deems necessary.

          14.   If this Court grants this motion for a status conference, Special Counsel has
obtained verbal permission from Mr. Pierce so that Special Counsel can openly discuss all
relevant issues without potentially afoul of the doctrine of attorney-client privilege. Special
Counsel has also communicated with Mr. Pierce’s Chapter 13 counsel, Mr. Heard, so that he
may attend the status conference.




Case 11-83381-CRJ13          Doc 157 Filed 08/28/19 Entered 08/28/19 15:50:04              Desc
                               Main Document     Page 2 of 3
                                    PRAYER FOR RELIEF

       WHEREFORE, premises considered, James H. Richardson, former Special Counsel,
respectfully requests that this Court enter an Order:

       (a)     Scheduling a status conference concerning this Chapter 13 case; and

       (b)     Granting such relief as this Court deems just and proper.

       Respectfully submitted this the 28th day of August, 2019.

                                              /s/ Tazewell T. Shepard III
                                              Tazewell T. Shepard III
                                              Attorney to Special Counsel

                                              SPARKMAN, SHEPARD & MORRIS, P.C.
                                              P.O. Box 19045
                                              Huntsville, AL 35804
                                              Tel: (256) 512-9924

                                 CERTIFICATE OF SERVICE

       On the 28th day of August, 2019, I served the foregoing document upon debtors Anthony
and Peggy Pierce; Debtors’ counsel Kevin Heard; Bankruptcy Administrator’s Office Richard
Blythe; and Chapter 13 Trustee Michelle Hatcher; by electronic service through the Court’s
CM/ECF system and/or by depositing said copies in the United States Mail in properly addressed
envelopes with adequate postage thereon.

                                             /s/ Tazewell T. Shepard
                                             Tazewell T. Shepard




Case 11-83381-CRJ13          Doc 157 Filed 08/28/19 Entered 08/28/19 15:50:04           Desc
                               Main Document     Page 3 of 3
